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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

MARGARITO DOMANTAY,

                             Plaintiff,

vs.                                         CASE NO. 8:15-cv-00617-EAK-TBM

ARM WNY, LLC and
ADAM MARCH,

                       Defendants.
___________________________________/

                             NOTICE OF SETTLEMENT

       COMES NOW, Plaintiff, MARGARITO DOMANTAY (“Plaintiff”), by and

through his undersigned counsel, and pursuant to Local Rule 3.08(a), and hereby notifies

the Court that a compromise settlement has been reached in this matter, and that Plaintiff

anticipates filing a Dismissal with Prejudice of all claims in the above-captioned suit by

August 22, 2015 when all terms of the settlement agreement are expected to be complete.


       Respectfully, submitted this 22nd day of July 2015, by:

                                            /s/ Kimberly H. Wochholz
                                            Kimberly H. Wochholz
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

Court’s CM/ECF system on this 22nd day of July 2015 on all counsel or parties of record on the

Service List below.

                                           /s/ Kimberly H. Wochholz
                                           Kimberly H. Wochholz – Attorney for Plaintiff
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